Julie Richards Johnson, Clerk                               Apr 26 16    F1LED
US District Clerk's Office need west div
PO Box 25670                                                          APR 2 9 2016
Raleigh NC 27611-5670                                                      ~s.~~e~
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Please mail me your price for the docket sheets of your
Raleigh Wake Cit Assn v Wake Co Bd Electns 5:15cv156-D and
Calla Wright v State of NC & Wake Co Bd Electns 5:13cv607-D.
 Mr. Robert M. Allensworth, #B14522
 Big Muddy River CmTectional Center
 251 N IL-37
 Ina, IL 62846-2419

I got a copy of 5:15cv156-d Doc 65 2/26/16 pl~ of 2.




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